                        Case: 23-5609         Document: 4         Filed: 06/30/2023     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-5609
Appeal No.: ___________________________________

            Doe 1, et al.                           Thornbury, et al.
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
All plaintiffs/appellees (Jane/John Does 1-7, Jane/John Minor Does 1-7 )




         ☐ Appellant             ☐ Petitioner             ☐ Amicus Curiae               ☐Criminal Justice Act
         ☐
         ✔ Appellee              ☐ Respondent             ☐ Intervenor                        (Appointed)

☐
✔ Check if a party is represented by more than one attorney.


☐ Check if you are lead counsel.

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Stephanie Schuster
Attorney Name: ________________________________               Stephanie Schuster
                                                Signature: s/_______________________________

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